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UNITED STATES DISTRICT COURT FILED
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sOUTHERN DIVISION
$*$*******************$*****$$***$$***************$********$****** ***$§§;
:k
TODD V. SWANSON, * CIV 07-4152
*
Plaintiff, *
*
vs. * 0RDER
>{¢
STATE FARM FIRE AND *
CASUALTY CO., *
*
Defendant. *

******$****$*******$*$****************$*$******************$****$********$****

Pursuant to 28 U.S.C. § 455(a) and (b)(l), this Court hereby recuses itself from hearing or
determining any procee in,gr in the above matter.

Dated this § day of October, 2007.

BY THE COURT:

 

United States District Judge

ATTEST:
JOSEPl-I HAAS, CLERK

BY:,~L/w£{j }KM&¢,¢,LLD’/

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